    Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 1 of 16




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

LAURA QUARLES, as the                     )
Administratrix of the Estate of           )
Gregory Quarles,                          )
                                          )
              Plaintiff,                  )
                                          )
       v.                                 )     CASE NO. 2:17-CV-308-WKW
                                          )               [WO]
TENNESSEE STEEL HAULERS,                  )
INC.; JOSHUA L. FAIRCLOTH;                )
PEDRO H. FERNANDEZ; and                   )
TRANS TEXAS EXPRESS, INC.,                )
                                          )
              Defendants.                 )

                   MEMORANDUM OPINION AND ORDER

      One night in 2017, there were two car accidents near Exit 11 on Interstate 85

in Montgomery. The first accident was at 5:50 p.m. in a southbound lane; the second

was at 8:31 p.m. in a northbound lane. This case is about whether the first accident

proximately caused the second. It did not. Defendants Pedro Fernandez and Trans

Texas Express, Inc. are thus entitled to summary judgment.

                           I. JURISDICTION AND VENUE

      The court has subject-matter jurisdiction under 28 U.S.C. § 1332. (Doc. # 32.)

The parties do not dispute personal jurisdiction or venue.

                            II. STANDARD OF REVIEW

      To succeed on a motion for summary judgment, the moving party must show
    Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 2 of 16




that “there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). The court views the evidence,

and all reasonable inferences drawn from it, in the light most favorable to the

nonmoving party. Jean-Baptiste v. Gutierrez, 627 F.3d 816, 820 (11th Cir. 2010).

      A party seeking summary judgment “always bears the initial responsibility of

informing the district court of the basis for the motion.” Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986). This responsibility includes identifying the parts of the

record that show there is no genuine dispute of material fact. See Fed. R. Civ. P.

56(c)(1). A movant who does not bear a trial burden of production may also assert,

without citing the record, that the nonmoving party “cannot produce admissible

evidence to support” a material fact. Fed. R. Civ. P. 56(c)(1)(B).

      If the moving party meets its burden, then the nonmoving party must present

evidence of a genuine dispute of material fact. Celotex, 477 U.S. at 324. A genuine

dispute of material fact exists when the nonmoving party produces evidence

allowing a reasonable fact-finder to return a verdict in its favor. Waddell v. Valley

Forge Dental Assocs., 276 F.3d 1275, 1279 (11th Cir. 2001); see Ellis v. England,

432 F.3d 1321, 1326 (11th Cir. 2005) (noting “mere conclusions and unsupported

factual allegations are legally insufficient to defeat a summary judgment motion”).

                                    III. FACTS

      Interstate 85 is a main thoroughfare in Montgomery, Alabama. I-85 South


                                          2
     Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 3 of 16




takes drivers past downtown Montgomery to an interchange with Interstate 65. I-85

North goes toward Atlanta. Around Exit 11 (also called the Chantilly Exit or the

Mitylene Exit) in Montgomery, there are two lanes in each direction. A wide, grassy

median separates northbound from southbound traffic.1 On January 31, 2017, there

were two major accidents near Exit 11. The first resulted in an overturned tractor-

trailer. The second resulted in the tragic death of Gregory Quarles.

A.     The 5:50 p.m. Southbound Accident

       On January 31, Pedro Fernandez was hauling lumber on behalf of his

employer, Trans Texas Express, Inc. He was headed south on I-85. Walter Griffin

was driving a pickup truck in the same direction. At 5:50 p.m., the passenger side

of Fernandez’s trailer collided with the driver’s side of Griffin’s pickup. The court

assumes (without deciding) that Fernandez and Trans Texas are legally responsible

for that collision. (Doc. # 1-8, at 2; Doc. # 70, at 7–32.)

       The collision caused Fernandez’s tractor-trailer to overturn into the median,

which in turn caused the lumber on Fernandez’s truck to spill into the median. Police

officers and the fire department responded to the accident. The city also sent workers

to pick up the lumber in the median. (Doc. # 73, at 42, 50; Doc. # 75-6, at 2.)




       1
          In Montgomery, I-85 actually runs east–west. But as a whole, I-85 goes from Alabama
to Virginia, so the Federal Highway Administration denotes it as a north–south route. The court
thus refers to “northbound” and “southbound” traffic.

                                              3
     Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 4 of 16




B.    The 8:31 p.m. Northbound Accident

      Two hours and forty-one minutes after Fernandez overturned, city workers

were still picking up lumber in the median. Police cars were still on the scene.

Flashing lights — yellow ones on the cleanup crew’s trucks, blue ones on the police

cars — illuminated the area. (Doc. # 1-5, at 2; Doc. # 75-6, at 2.)

      Traffic had backed up in both directions. Plaintiff concedes that “there were

no obstructions” in either northbound lane. (Doc. # 75, at 10.) There is, after all, no

evidence of any debris on I-85 North. Nor is there evidence that, at 8:31 p.m., the

cleanup crew or emergency vehicles blocked either northbound lane. Nor is there

evidence anyone told northbound drivers to avoid the left lane. Instead, one driver

testified that he did not see anything blocking northbound traffic. (Doc. # 73, at 48–

50.) But for some reason — maybe a blend of caution and gawking — northbound

traffic was consolidated into the right lane. It was crawling along at just ten to fifteen

miles an hour. (Doc. # 73, at 43–45, 50–52; Doc. # 75, at 7; Doc. # 75-6, at 2.)

      George Randall was driving a tractor-trailer on I-85 North when he got stuck

in this traffic jam. Gregory Quarles was driving a Jeep immediately behind Randall.

Joshua Faircloth, who was driving a tractor-trailer for Tennessee Steel Haulers, Inc.,

was right behind Quarles. Randall and Quarles slowed down for traffic. Tragically,

Faircloth did not. He instead plowed into Quarles at high speed — possibly at sixty-

five miles an hour. The collision hurled Quarles’s Jeep into the back of Randall’s


                                            4
     Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 5 of 16




tractor-trailer. Quarles died instantly from blunt-force trauma, and his car burst into

flames. (Doc. # 73, at 44–46, 55, 59–60.)

       There does not appear to be a reason Faircloth did not slow down or stop. The

weather was clear. The road was dry. His brakes worked. Nothing blocked his

view. He was not distracted by the cleanup crew. He somehow did not react to the

flashing lights even though other drivers clearly did. (Doc. # 73, at 59–60.)

C.     Procedural History

       In April 2017, Plaintiff Laura Quarles (the administrator of Gregory Quarles’s

estate) filed this wrongful death action against Fernandez, Trans Texas, Griffin,

Faircloth, and Tennessee Steel Haulers in the Circuit Court of Montgomery County,

Alabama. (Doc. # 1-1.) Plaintiff claims Defendants were negligent and wanton in

violation of Alabama common law. (Doc. # 1-1, at 4–7.)

       Defendants invoked diversity jurisdiction and removed the case from state

court. (Doc. # 1.) Both Plaintiff and Griffin are Alabamians, which would normally

keep the court from exercising diversity jurisdiction. But the court found that there

was “no possibility” Griffin proximately caused Quarles’s death. (Doc. # 32, at 8,

11.) And because Griffin could not be liable to Plaintiff, the court dismissed him as

“fraudulently joined” and did not remand the case to state court. (Doc. # 37.)2



       2
         The only reason that the court did not dismiss Fernandez and Trans Texas on proximate
cause grounds was because they did not destroy diversity jurisdiction. (Doc. # 37, at 2 n.1.)

                                              5
     Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 6 of 16




      Fernandez and Trans Texas now move for summary judgment. (Doc. # 71.)

They argue that just as Griffin could not be liable to Plaintiff, neither are they liable

to Plaintiff. The motion has been fully briefed. (Docs. # 72, 73, 75, 80.) Fernandez

and Trans Texas also move to strike some evidence Plaintiff submitted in opposition

to summary judgment. (Doc. # 76.)

                                 IV. DISCUSSION

      To prevail on either a negligence claim or a wantonness claim, Plaintiff must

show that Fernandez and Trans Texas proximately caused Quarles’s death. Martin

v. Arnold, 643 So. 2d 564, 567 (Ala. 1994) (“Proximate cause is an essential element

of both negligence claims and wantonness claims.”). The undisputed material facts

show that Plaintiff cannot meet that burden.

A.    The Proximate Cause Requirement

      In legal terms, “the proximate cause of an injury is that cause which, in the

natural and probable sequence of events, and without the intervention or coming in

of some new or independent cause, produces the injury, and without which the injury

would not have occurred.” Ala. Power Co. v. Moore, 899 So. 2d 975, 979 (Ala.

2004) (cleaned up); see also, e.g., Thetford v. City of Clanton, 605 So. 2d 835, 840

(Ala. 1992) (“Proximate cause is an act or omission that in a natural and continuous

sequence, unbroken by any new independent causes, produces the injury and without

which the injury would not have occurred.”). An intervening or independent cause


                                           6
    Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 7 of 16




is something that breaks the chain of causation, thus making the defendant’s action

no longer the proximate cause of the plaintiff’s injury. Moore, 899 So. 2d at 979.

To break the causal chain, however, an intervening cause “must (1) occur after the

defendant’s [wrongful] act, (2) be unforeseeable to the defendant at the time he acts,

and (3) be sufficient to be the sole cause-in-fact of the plaintiff’s injury.” Prill v.

Marrone, 23 So. 3d 1, 6 (Ala. 2009) (cleaned up).

      In more practical terms, “proximate cause hinges on foreseeability.” Springer

v. Jefferson Cty., 595 So. 2d 1381, 1384 (Ala. 1992); see Vines v. Plantation Motor

Lodge, 336 So. 2d 1338, 1339 (Ala. 1976) (“The key here is foreseeability.”). To

be foreseeable, harm must be more than merely possible. Moore, 899 So. 2d at 979.

Instead, the proximate cause doctrine looks at the probability of harm and determines

whether the defendant should be legally responsible for the plaintiff’s injury. Id.

That is usually a question for the jury. Id. But if there are no disputed material facts,

and if no reasonable juror could find that the defendant proximately caused the

plaintiff’s injury, courts decide proximate cause. Id. at 980; Prill, 23 So. 3d at 12.

      Precedent illustrates this doctrine. In City of Mobile v. Havard, for example,

an overloaded soybean truck with defective brakes rear-ended a car in a tunnel. 268

So. 2d 805, 806–07, 809 (Ala. 1972). Gasoline fires broke out, but the firefighting

equipment in the tunnel was allegedly either defective and inadequate, and the driver

who was rear-ended died of severe burns. The driver’s estate sued the engineering


                                           7
    Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 8 of 16




firm responsible for inspecting the tunnel’s firefighting equipment, and a jury

delivered a verdict for the plaintiff. Id. at 807. But the Alabama Supreme Court

reversed, holding the engineering firm did not proximately cause the driver’s death.

Rather, the soybean truck was an independent and intervening cause. Id. at 809–10.

      In Morgan v. City of Tuscaloosa, a drainage sewer was either negligently built

or negligently maintained, so it did not properly drain water from the street. 108 So.

2d 342, 344 (Ala. 1959). Water thus pooled on the street. A driver drove too quickly

into the impounded water, “causing the water to be splashed or sprayed onto his

windshield, blinding the driver or obstructing his vision.” Id. Unable to see, the

driver hit a child crossing the street. Id. The court held that any negligence in

building or maintaining the drain “was nothing more than a remote cause of the

accident.” Id. at 345. The negligent driver was an independent cause of the accident,

and he was solely responsible for it. Id.

      In both Havard and Morgan, the Alabama Supreme Court determined that the

defendant could not have proximately caused the plaintiff’s injury. But in different

scenarios, the court left the issue to the jury. In Hilburn v. Shirley, the defendant

darted in front of the plaintiff’s tractor-trailer, causing an accident. 437 So. 2d 1252,

1253 (Ala. 1983). As soon as the plaintiff stopped, he leapt out of his truck to see if

the defendant was hurt. The six-foot jump from the truck to the ground injured the

plaintiff’s back. Id. The court held that the accident could have proximately caused


                                            8
     Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 9 of 16




the plaintiff’s back injury. Id. at 1254. The jump was not an intervening cause

because it was foreseeable that one driver in an accident might hurry to check on

another driver. Id.

       There was no intervening cause in Thompson v. White, either. 149 So. 2d 797,

804 (Ala. 1963). There, a gas station hired clowns to perform at an intersection. The

clowns were on the road, and they distracted one driver who rear-ended another.

The driver who was rear-ended sued the gas station. Id. at 800. The court held that

it was foreseeable that clowns on a road might distract drivers, so any negligence by

the distracted driver was not an intervening cause. Id. at 803–04. 3

B.     Fernandez and Trans Texas did not proximately cause Quarles’s death.

       No reasonable juror could find that Fernandez and Trans Texas proximately

caused Quarles’s death. There was no uninterrupted natural, probable, or continuous

sequence from Fernandez’s allegedly wrongful actions to Quarles’s death. Instead,

Faircloth’s actions broke the chain of causation. Faircloth’s intervening negligence

was unforeseeable, and it was enough to be the sole cause-in-fact of Quarles’s death.

       There are four overlapping reasons for this conclusion. First, there was a long

delay between the first accident and the second accident — from 5:50 to 8:31 p.m.




       3
          Note that if the clowns had only been near the road, the gas station could not have been
liable. Thompson, 149 So. 2d at 802 (explaining “that the act of causing clowns to perform near a
highway, without more, does not constitute a breach of the duty owed by the owner of a lot abutting
a highway to exercise reasonable care so as not to injure persons traveling on the highway”).

                                                9
    Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 10 of 16




To be more specific, there was a two hour and forty-one minute gap between

Fernandez’s supposed negligence and Quarles’s death. (Plaintiff does not argue that

Fernandez was negligent after his accident with Griffin. Instead, any negligence by

Fernandez ended at 5:50 p.m.) This is unlike Hilburn, where the plaintiff hurt his

back moments after (and during a physical response to) the defendant’s negligence.

437 So. 2d at 1254. Simply put, Fernandez could not have expected the results of

his actions to last more than two-and-a-half hours. Other jurisdictions have reached

the same conclusion when the second accident was much sooner than the one here.4

       Second, when Quarles got stuck in traffic, the scene was stable. The police

had assumed control. Flashing yellow and blue lights illuminated the area. Traffic

was moving, albeit slowly, in both directions. And for over two-and-a-half hours,

other cars and trucks safely drove past the first accident. Drivers might have

gawked, but they were safe. It was unforeseeable that Faircloth would fail to slow

down or stop for traffic under these conditions. Again, other jurisdictions agree.5


       4
          See, e.g., O’Connor v. Nigg, 838 P.2d 422, 425 (Mont. 1992) (holding no proximate
cause; ten-minute gap); Williams v. Smith, 314 S.E.2d 279, 280 (N.C. Ct. App. 1984) (twenty to
forty-five minutes); Hale v. Brown, 167 P.3d 362, 363 (Kan. Ct. App. 2007) (thirty-five minutes),
aff’d, 197 P.3d 438 (Kan. 2008); Baumann v. Zhukov, 802 F.3d 950, 956 (8th Cir. 2015) (forty
minutes); Southwell v. Riverdale Transit Corp., 540 N.Y.S.2d 425, 426 (App. Div. 1989) (forty-
five minutes); Howard v. Bennett, 894 N.W.2d 391, 396 (S.D. 2017) (one-and-a-half hours); Clark
v. EPCO Inc., 376 F. App’x 427, 431 (5th Cir. 2010) (per curiam) (two hours).

       5
          See, e.g., Howard, 894 N.W.2d at 396 (holding no proximate cause; relying on police
presence, flowing traffic, and the lack of other accidents); Baumann, 802 F.3d at 956 (relying on
the lack of other accidents); Blood v. VH-1 Music First, 668 F.3d 543, 548 (7th Cir. 2012) (relying
on the fact that “the force of the first accident was spent” and the lack of other accidents); Jackson
                                                 10
    Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 11 of 16




       Third, there is no evidence that Fernandez’s overturned tractor-trailer (or the

lumber he was hauling) blocked northbound traffic. Fernandez contributed nothing

more to Quarles’s death than the need for cleanup efforts and a resulting traffic jam.

No one involved in the first accident was physically involved in the second.

Fernandez was also on I-85 South, while Quarles and Faircloth were on I-85 North.

It was not foreseeable that someone coming from the other direction would make no

effort to safely navigate a traffic jam and a cleanup crew.6

       Finally, Faircloth acted egregiously. The road was dry, the weather was clear,

he had a clear view, and his brakes worked. Everyone else slowed down for traffic.

But Faircloth barreled through at high speed. Fernandez could not have foreseen

that.7 Put differently, Faircloth did not respond to what Fernandez allegedly caused.

That is unlike Thompson, where the gas station wanted drivers to see clowns on the

road and the clowns then distracted a driver. 149 So. 2d at 804.



v. Howell’s Motor Freight, Inc., 485 S.E.2d 895, 900 (N.C. Ct. App. 1997) (relying on the fact that
police officers had taken control of the scene); Haworth v. Mosher, 395 F.2d 566, 569 (10th Cir.
1968) (holding once another driver “came to a complete rest without collision or injury,” the causal
chain broke).

       6
         See, e.g., Clark, 376 F. App’x at 431 (holding no proximate cause when defendant
“contributed no more than the traffic jam”); Dee v. Johnson, 286 P.3d 22, 23 (Utah Ct. App. 2012)
(holding no proximate cause where plaintiff hit a tow truck that partially obstructed road as it
pulled defendant’s car out of the median); Dardenne v. Jones, 239 So. 2d 724, 726 (La. Ct. App.
1970) (holding no proximate cause where defendant’s vehicle and winch truck partially obstructed
road and a driver who swerved into oncoming traffic to avoid the obstruction hit plaintiff).

       7
       See, e.g., Baumann, 802 F.3d at 956 (relying on the obviousness of the hazard);
O’Connor, 838 P.2d at 425 (relying on the fact that the driver did not notice flashing police lights).

                                                 11
     Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 12 of 16




C.     Plaintiff’s arguments against summary judgment are not persuasive.

       Fernandez and Trans Texas are, for the reasons above, entitled to judgment as

a matter of law. Plaintiff argues against summary judgment, but her effort fails.

       1.    Language Ability

       Plaintiff makes an issue of Fernandez’s inability to speak English. It is true

that Fernandez, a Mexican citizen, cannot speak English. (Doc. # 73, at 35; Doc.

# 75-2, at 9.) As a result, it was illegal for him to drive a commercial vehicle in the

United States. 49 C.F.R. § 391.11(b)(2). But at the same time, Fernandez had an

employment visa and a Mexican driver’s license. (Doc. # 81, at 5.) That made it

legal for him to drive under Alabama law. Ala. Code § 32-6-10. More importantly,

Fernandez’s ability to speak English in no way contributed to this accident. It is thus

irrelevant and inadmissible. See Giles v. Gardner, 249 So. 2d 824, 827 (Ala. 1971).

       2.    Sudden Emergency Defense

       Next, Plaintiff argues that Fernandez and Trans Texas tacitly admitted that the

first accident “created a hazardous condition affecting the northbound lanes of I-85

that caused the second accident.” (Doc. # 75, at 17.) This supposed admission came

when Fernandez and Trans Texas preserved a “sudden emergency” defense in their

Answer. (Doc. # 43, at 4.) Under the sudden emergency doctrine, “a person faced

with a sudden emergency calling for quick action is not held to the same correctness

of judgment and action that would apply if he had the time and opportunity to


                                          12
    Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 13 of 16




consider fully and choose the best means of escaping peril or preventing injury.”

Bettis v. Thornton, 662 So. 2d 256, 257 (Ala. 1995) (cleaned up).

       This argument fails. For one, the sudden emergency defense does not apply

to a dangerous condition after the accident. Instead, it is an argument that Fernandez

had a lower duty of care while he was driving. Moreover, a defendant “may state as

many separate . . . defenses as it has, regardless of consistency.” Fed. R. Civ. P.

8(d)(3); see Verderane v. Jacksonville Shipyards, Inc., 772 F.2d 775, 779 (11th Cir.

1985). So even if a sudden emergency defense would concede there was a dangerous

condition after the first accident (it would have had to preexist that accident),

Fernandez and Trans Texas could still rely on their proximate cause defense. (Doc.

# 43, at 3.)

       3.      Screenshots of a Video

       In its evidentiary submission, Plaintiff included five screenshots of a video

that an unidentified “passerby” made of the first accident scene “sometime before

the Quarles crash.” (Doc. # 75-3, at 2.) The screenshots are said to depict firetrucks

and a police car partially blocking the left lane on I-85 North. (Docs. # 75-3, 75-4.)

A threadbare affidavit from Plaintiff’s attorney accompanies these screenshots.

       It is hornbook evidence law that, for a photograph to be admissible, there must

be evidence that the photo fairly and accurately depicts its subject. See 5 Christopher

B. Mueller & Laird C. Kirkpatrick, Federal Evidence § 9:23 (4th ed. 2013 & Supp.


                                          13
    Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 14 of 16




2018); 2 Kenneth S. Broun et al., McCormick on Evidence § 215 (7th ed. 2013 &

Supp. 2016); 3 John H. Wigmore, Evidence in Trials at Common Law § 790

(Chadbourn rev. ed. 1970). Yet there is no evidence that the screenshots here fairly

and accurately depict the scene of the first accident. Nor is there evidence of how

the screenshots were made.

      This is not to say that Plaintiff must identify who filmed the video or took the

screenshots. See United States v. Clayton, 643 F.2d 1071, 1074 (5th Cir. Unit B

April 1981) (“A witness qualifying a photograph need not be the photographer or

see the picture taken; it is sufficient if he recognizes and identifies the object depicted

and testifies that the photograph fairly and correctly represents it.”). But the affidavit

from Plaintiff’s attorney merely says that a “passerby” made the video “sometime

before” the second accident. The attorney does not represent that he has personal

knowledge of the accident scene. He does not assert that the screenshots fairly and

accurately depict the scene. Thus, the screenshots are inadmissible.

       But even if the screenshots were admissible, they would not defeat summary

judgment. That is because there is no evidence that the screenshots depict conditions

at the time of the second accident. The screenshots purportedly show that “sometime

before” 8:31 p.m., Fernandez’s tractor-trailer was in the median and emergency

vehicles were in the left northbound lane. Yet Plaintiff concedes that, at 8:31 p.m.,

no emergency vehicles blocked I-85 North. (Doc. # 75, at 10.) To be clear: Plaintiff


                                            14
    Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 15 of 16




admits that the scene looked different at the time of the second accident. That means

the screenshots are of little value. And to the extent that the screenshots matter, they

do not affect the conclusion that there is no proximate causation.

      4.     Accident Reports

      Plaintiff’s evidentiary submission includes two Uniform Accident Reports —

one from each accident. Under Alabama law, “accident reports made by persons

involved in accidents” may not be used as evidence “in any trial, civil or criminal,

arising out of an accident.” Ala. Code § 32-10-11; see Mainor v. Hayneville Tel.

Co., 715 So. 2d 800, 802 (Ala. Civ. App. 1997) (“Section 32-10-11 provides that no

Alabama Uniform Accident Report shall be used as evidence in any civil or criminal

trial arising out of an accident.”). That rule applies here, meaning that the reports

are inadmissible. Fed. R. Evid. 501; cf. Cardona v. Mason & Dixon Lines, Inc., 737

F. App’x 978, 981 (11th Cir. 2018) (per curiam). Even if they were admissible,

though, nothing in them would affect the court’s decision.

      5.     Declaration Without Oath

      Finally, Plaintiff presents a statement from Brittany Boston, who claims that

she saw Faircloth rear-end Quarles. Boston represents that her statement “is true

and accurate to the best of [her] knowledge and belief.” (Doc. # 75-7.) But her

statement is not notarized. Nor does it state “under penalty of perjury” that it “is

true and correct.” 28 U.S.C. § 1746. It is not even dated. Id. That means “the court


                                          15
   Case 2:17-cv-00308-WKW-SMD Document 86 Filed 02/20/19 Page 16 of 16




may not consider [it] in determining the propriety of summary judgment.” Gordon

v. Watson, 622 F.2d 120, 123 (5th Cir. 1980) (per curiam); see also Grimsley v. Palm

Beach Credit Adjusters, Inc., 691 F. App’x 576, 579 (11th Cir. 2017) (per curiam)

(stating that “unsworn assertions . . . cannot create a genuine issue of material fact

to defeat summary judgment”). Once again, though, this evidence does not create a

genuine dispute of material fact. It says nothing about the cause of the second

accident other than it appeared to the witness that Faircloth was going fast.

                                 V. CONCLUSION

         For the reasons above, it is ORDERED that:

         1.    Defendants Pedro Fernandez and Trans Texas Express, Inc.’s Motion

for Summary Judgment (Doc. # 71) is GRANTED.

         2.    Defendants Pedro Fernandez and Trans Texas Express, Inc.’s Objection

and Motion to Strike (Doc. # 76) is GRANTED to the extent provided in this Order.

         3.    There being no just reason for delay, this Order is final and appealable

as to Defendants Pedro Fernandez and Trans Texas Express, Inc. Fed. R. Civ. P.

54(b).

         DONE this 20th day of February, 2019.
                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE




                                           16
